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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

v.                                         Crim. Action No. 21-24-1 (EGS)

ROBERT GIESWEIN,

                    Defendant.



           DEFENSE SUPPLEMENT TO JOINT STATUS REPORT
                  REGARDING MOTIONS HEARING

      Robert Gieswein, by and through undersigned counsel, hereby submits this

supplement to the parties’ joint status report in response to the Court’s Minute Order

entered on April 15, 2022, directing the parties to inform the Court of “the number of

witnesses, if any, expected to testify on April 20, 2022; whether any motions have

been resolved or will be resolved by the parties; and the projected duration of the

hearing.” See ECF 113 (April 15, 2022 Minute Order); ECF 114 (Joint Status Report).

      The joint status report noted that the parties did not contemplate offering

lengthy arguments on any motion, and anticipated that answering any questions the

Court has would occupy most of the time in the hearing. ECF 114. The government

represented that it has no objection if the Court is prepared to rule on the papers on

any motion. Id. The report noted that the defense was contemplating whether to rest

on the papers on particular motions, such that the defense would not object if the

Court is prepared to rule on such motions without further argument, and that the
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Court would update the Court accordingly. Id. The below table reflects the defense’s

position.

 Defense             Motion for Release                                   57
 Requests
                     Motion to Dismiss – Speedy Trial Grounds             58
 Argument
                     Motion in Limine – Instagram Post                    63, #3
                     Motion for Transfer of Venue                         64
                     Motion in Limine – Secret Service Testimony          65
 Defense Rests       Motion for Bill of Particulars – Obstruction Count   59
 on Papers
                     Motion to Dismiss Obstruction Count                  60
                     Motion in Limine – Defense Arguments                 63, #1, 2, 4
                     Motion to Dismiss – Section 231 Counts               100
 Parties Agree       Motion to Dismiss, for Discovery – Assault Counts    61
 Mooted by
 Superseding
 Indictment

         The defense anticipates that the Court will hear from the government on any

motion on which the Court permits the defense to offer argument, of course.

         The defense anticipates that the hearing could be concluded in well under two

hours.

                                               ROBERT GIESWEIN
                                               by counsel:

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                                               Federal Public Defender for the
                                               Eastern District of Virginia

                                               by:________s/_______________
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